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                          THE WEISS LAW GROUP, LLC
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                          Counsel to the Debtor and the Debtor-in-Possession


                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                    FOR THE DISTRICT OF MARYLAND


                           In re:
                                                                         Bankruptcy No. 21-1-0212 NVA
                           META KARLISE TOWNSEND,
                                                                         Chapter 11
                                     Debtor.


                                      RESPONSE TO ORDER TO SHOW CAUSE AS TO DISMISSAL


                                    NOW COMES Debtor, by and through above stated counsel, and hereby re-
                          sponds to the Order to Show Cause as to Dismissal filed herein at Docket No. 11, and
                          states:
                                    On January 26, 2021 at Docket No. 18, the Debtor filed the documents required by
                          11 U.S.C. § 1116(1) in the Debtor’s possession, and a statement under oath as to the doc-
                          uments not filed.
                                    WHEREFORE, the Debtor prays that the Order to Show Cause be dissolved.

                          Date: January 26, 2021                               Respectfully Submitted,

                                                                               THE WEISS LAW GROUP, LLC


                                                                               By: _______/s/ Brett Weiss___________
                                                                                  BRETT WEISS, #02980

                                                        CERTIFICATE OF SERVICE
  THE WEISS LAW
    GROUP, LLC
6404 IVY LANE SUITE 650
 GREENBELT, MD 20770
     (301) 924–4400
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                                 I hereby certify that on the 26th day of January, 2021, I reviewed the Court’s
                          CM/ECF system and it reports that an electronic copy of the above pleading will be
                          served electronically by the Court’s CM/ECF system on the following:

                                 Office of the United States Trustee

                                 I hereby further certify that on the 26th day of January, 2021, a copy of the above
                          pleading was also mailed first class mail, postage prepaid, to:

                                 None

                                                                           ______/s/ Brett Weiss___________
                                                                           BRETT WEISS




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